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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                  CRIMINAL ACTION
VERSUS                                                    NO. 08-140

BETTY JEFFERSON                                           SECTION "B” (1)
ANGELA COLEMAN
MOSE JEFFERSON
RENEE GILL PRATT

                                   ORDER AND REASONS

        Before the Court are Defendants Betty Jefferson and Mose

Jefferson’s Motions to Dismiss Lis Pendens and Forfeiture Claims.

(Rec. Docs. 130, 138). The motions seek to dismiss lis pendens and

forfeiture claims on Betty Jefferson’s properties located at 936

Jackson Avenue, New Orleans, and 1725 Valmont Street, New Orleans

and the properties located at 2712 and 2714-16 Loyola Ave.1 and

3311-13 S. Saratoga Street, New Orleans in which Mose Jefferson has

an interest. The motions are opposed.                   (Rec. Doc. 151).          The Court

heard       oral   arguments       on   the    motions       on   June    17,    2009,     and

subsequently ordered the parties to engage in good faith discussions

regarding the motions and the possibility of utilizing a less

restrictive        means    than    lis    pendens      to    reasonably        protect    all

parties’ interests and to submit a joint report on the discussions.


        1
        Michael Fawer, Mose Jefferson’s attorney in the case before Judge Lemmon, and Arthur
Lemann, Mose’s attorney in the present matter, had a recorded mortgage on the Loyola properties
to secure payments of their fees in the two cases. On June 29, 2009, ownership of the Loyola
properties was transferred from Defendant Mose Jefferson to the two attorneys.

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The parties failed to come to an agreement and failed to submit

joint reports.    After review of the parties’ separate reports, the

Court held further oral argument on the matter on July 2, 2009.

After review of the pleadings, applicable law, and oral argument of

the parties, and for the reasons that follow,

     IT   IS   ORDERED    that   Defendants     Betty   Jefferson     and   Mose

Jefferson’s Motions to Dismiss Lis Pendens and Forfeiture Counts

(Rec. Docs. 130, 138) are DENIED without prejudice to re-urge upon

submission of additional evidence of inability to sell or otherwise

encumber the subject properties due to the lis pendens.

                                   BACKGROUND

     The original June 4, 2008 indictment against Defendants Betty

Jefferson, Angela Coleman, and Mose Jefferson included charges of

conspiracy to commit mail fraud and program fraud, aggravated

identity theft, program fraud, mail fraud, false statements, tax

evasion, and conspiracy to commit money laundering.              The indictment

contained notices of mail fraud and program fraud forfeiture,

aggravated     identity    theft    forfeiture,     and    money    laundering

forfeiture.     On December 8, 2008, the Government filed a Bill of

Particulars informing Defendants of its intent to seek forfeiture

of the following properties located in New Orleans: 2712 and 2714-

2716 Loyola Ave., 3311-13 S. Saratoga St., 1723-1725 Valmont St.,

and 936 Jackson Ave.        On that same date the Government filed a



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Notice of Lis Pendens on the Loyola properties.                            The Government

filed a Notice of Lis Pendens on the S. Saratoga property on

December 9, 2008 and notices on the 936 Jackson Ave. and 1725

Valmont St. properties on February 11, 2009.                               The Government

recorded the notices of lis pendens in the Orleans Parish Clerk of

Court Mortgage and Conveyance Divisions.

       On    May   22,     2009,    the    grand    jury     returned      a   superseding

indictment against Defendants Betty Jefferson, Angela Coleman, and

Mose    Jefferson        and   added       Defendant      Renee    Gill     Pratt.         The

superseding        indictment       contained      many    of   the   same     allegations

presented in the original indictment; the major difference between

the indictments is that Count One of the Superseding Indictment is

now a conspiracy to violate the Racketeer Influenced and Corrupt

Organizations        Act    (“RICO”).         The    Superseding       Indictment      also

contains notices of forfeiture, specifically notices of racketeering

forfeiture, mail fraud forfeiture, and money laundering forfeiture.

The racketeering forfeiture notice indicates the Government’s intent

to    seek   forfeiture        of    the    same    four    New    Orleans     properties

referenced in the December 8, 2008 Bill of Particulars: 2712 and

2714-2716 Loyola Ave., 3311-13 S. Saratoga St., 1723-1725 Valmont

St., and 936 Jackson Ave. Defendant Betty Jefferson seeks dismissal

of the lis pendens and forfeiture counts relative to her properties

located at 936 Jackson Avenue and 1725 Valmont Street, and Defendant

Mose Jefferson seeks dismissal of the lis pendens and forfeiture

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counts relative to the properties located at 2712 and 2714-16 Loyola

Ave. and 3311-13 S. Saratoga Street, in which he has an interest.2

Attorneys for Mose Jefferson, Mr. Lemann and Mr. Fawer, recorded a

mortgage on the Loyola Ave. properties as a security for their

attorney fees on October 31, 2008, and assert that their mortgage

interest is superior to the Government’s interest in that property.

Additionally, ownership of the Loyola properties was transferred to

Attorneys Lemann and Fawer on June 29, 2009.

       The Court held oral argument on the motions on June 17, 2009,

and   ordered      the    parties     to    engage     in   good    faith     discussions

regarding the possibility of utilizing a less restrictive means than

lis pendens to protect all parties’ interests.                        (Rec. Doc. 157).

The parties were further ordered to submit a joint report on their

discussions on or before June 29, 2009.                         It appears that the

Government only met with the attorneys for Mose Jefferson and

engaged in no discussions regarding Betty Jefferson’s properties.

The parties failed to reach an agreement and failed to submit a

joint report, choosing instead to submit individual reports.                              The

reports indicate that Mr. Lemann and Mr. Fawer’s joint secured

interest in the Loyola Ave. property was approximately $250,000.00.

Mr. Lemann and Mr. Fawer presented a proposal that involved sale of



       2
        The Loyola properties were owned by Enterprise Consultants, LLC, (“Enterprise”) and
the S. Saratoga property is owned by B.E.P. Consulting Services, LLC (“BEP”). Enterprise and
BEP are for-profit Louisiana companies controlled by Defendant Mose Jefferson.

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the property or use of it as collateral for a bank loan of no more

than $250,000.    If sold, either directly by Lemann and Fawer or to

repay a loan for which the property served as collateral, all

proceeds above $250,000 would be placed in the registry of the

Court.    Lemann and Fawer also suggested that the property be

available as a substitute asset after repayment of the loan.                    The

Government ultimately rejected this proposal and offered instead to

withdraw the lis pendens and allow liquidation of the Loyola Ave.

property only on the condition that the entirety of the proceeds be

placed in the Registry of the Court until a conviction was obtained

and a jury ordered the Loyola Ave. property forfeited.              Lemann and

Fawer have indicated their intent to withdraw from representing Mose

Jefferson in both cases (the present case, 08-140, and Case No. 08-

085) in the event the lis pendens is not removed on July 2, 2009.

      Defendants assert that the notices of lis pendens cloud the

title of the properties at issue and thereby prevent Defendants from

selling the property with clear title.         Defendants assert that this

alleged inability to sell the property deprives them of proceeds

that could be used to pay their legal fees and other defense costs.

Defendants argue that this amounts to a violation of their Sixth

Amendment right to private counsel of choice.              Defendants assert

that the properties were not purchased with any funds or proceeds

described in the indictment as unlawfully obtained and argue that

the   proceeds   allegedly     related    to   the   properties    is   greatly

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disproportionate to the value of the properties.3                           Defendants urge

the Court to direct the Government to utilize less restrictive means

of protecting its interests, such as bonds in the amounts alleged

to    be   associated        with     the    properties        or    an    order     directing

Defendants to deposit the amounts into the Registry of the Court

following sale of the properties.

       Defendants’ primary argument is that the lis pendens is a de

facto seizure which is prohibited because the forfeiture provisions

of 18 U.S.C. 1963, 18 U.S.C. 981(a)(1)(C), 28 U.S.C. 2461, 18 U.S.C.

982(b)(I), and 21 U.S.C. 853 apply only upon conviction and at the

time of sentencing.           Defendants argue that the Government’s notices

of lis pendens are therefore deficient because no conviction has

been obtained at this stage of the proceedings.                             Defendants also

make a rather tenuous argument that forfeiture, and consequently lis

pendens, cannot be based on mail fraud because mail fraud is not

explicitly listed in 18 U.S.C. 981(a)(1)(C) and the mail fraud

statute makes no independent provision for statutory forfeiture.

Defendants admit, however, that § 981(a)(C) includes “specified

unlawful activity” as defined in 18 U.S.C. 1956(c)(7)(A). 18 U.S.C.

1956(c)(7)(A) in turn includes any offense listed under 18 U.S.C.

1961(1),      which      does     include      18    U.S.C.     §    1341     (mail     fraud).

       3
        Betty asserts that the superseding indictment alleges $6,950.00 of allegedly unlawful
income was used to maintain the Jackson Ave. property, which is currently listed on the real estate
market at $395,00.00. Similarly, Betty argues that the alleged unlawful income associated with
the Valmont property is $2,200.00, while the value of the property is approximately $376,740.00.

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Defendants argue, however, that Congress did not intend to include

mail fraud in § 981's civil forfeiture list because it could have

listed § 1341 explicitly, as it listed § 1344 (bank fraud).

     Attorneys for Mose Jefferson further argue that their interest

in Mose Jefferson’s Loyola Ave. property, procured to secure their

fees for his defense, is superior to the Government’s interest.                  In

support the attorneys point to the fact that their mortgage interest

was recorded prior to the Government’s December 8, 2008 filing of

its Bill of Particulars and associated Notices of Lis Pendens in the

present case.

     The Government argues that under Louisiana law lis pendens is

not a seizure and is, in fact, the least restrictive means of

protecting the Government’s interests.           The Government also argues

that the lis pendens does not affect Defendants’ Sixth Amendment

right to counsel of their choice because the forfeiture statute

provides no exception for attorney’s fees and Defendants’ right to

counsel of choice “does not extend to a defendant who insists on

representation by an attorney the defendant cannot afford.”                 (Rec.

Doc. 151 at 10).       The Government further asserts that Defendants’

alternative suggestions of a bond or depositing a portion of the

proceeds of sale into the registry of the Court are inadequate

because   RICO   may    require    Defendants    to    forfeit    their    entire

interests in the properties, not just amounts that can be recognized

as related on the face of the indictment.             Further, the Government

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argues,      the    determination        as    to   what     assets    are    subject      to

forfeiture         is    not    determined     by   the     amounts    alleged    on      the

indictment but is determined by the court or jury after trial;

therefore Defendants’ motions to dismiss forfeiture counts are

premature.

       The Government acknowledges that there is not a specific

statutory provision authorizing criminal forfeiture for violations

of 18 U.S.C. § 1341 (mail fraud) but argues that criminal forfeiture

is authorized under 28 U.S.C. § 2461(c). 28 U.S.C. § 2461(c) states

that    in   the        event   of   conviction,     “the    court    shall    order      the

forfeiture of property ... pursuant to ... section 3554.” 18 U.S.C.

§ 3554 provides for the forfeiture of property in accordance with

18 U.S.C. § 1963 when a defendant has been found guilty of violating

18 U.S.C. § 1962.

                                        DISCUSSION

A.    Lis Pendens

Extent of RICO Forfeiture

       Plaintiffs         suggest    that     the   government’s      interest     in     the

properties, as indicated in the indictment by tainted sums alleged

to be connected to the properties, is insubstantial and can be

secured by means such as bonds.                However, RICO mandates forfeiture

of “all property” described in 18 U.S.C. § 1963 (a), which includes:

              (1)       any interest the person has acquired                      or
                        maintained in violation of section 1962;


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          (2) any
               (A)    interest in;

                (B)   security of;

                (C)   claim against; or

                (D)   property or contractual right of any kind
                      affording a source of influence over;

                any   enterprise    which   the    person   has
                established, operated, controlled, conducted,
                or participated in the conduct of, in violation
                of section 1962; and

          (3)   any property constituting or derived from, any
                proceeds which the person obtained, directly or
                indirectly, from racketeering activity ... in
                violation of section 1962.

18 U.S.C. § 1963 (a)(emphasis added).

     The Fifth Circuit in United States v. Cauble, 706 F.2d 1322,

1349 (5th Cir. 1983), provided the following explanation regarding

the broad reach of forfeiture under RICO:

     The RICO forfeiture is in personam: a punishment imposed
     on a guilty defendant. It deprives that defendant of all
     of the assets that allow him to maintain an interest in
     a RICO enterprise, regardless whether those assets are
     themselves “tainted” by use in connection with the
     racketeering activity.
     ...
     [P]roperty forfeited under RICO need not be “guilty.” RICO
     forfeiture is aimed at divorcing guilty persons from the
     enterprises they have corrupted.

Cauble, 706 F.2d at 1349, 1350.      See also U.S. v. Busher, 817 F.2d

1409, 1413 (9th Cir. 1987)(stating, “Section 1963 was designed to

totally separate a racketeer from the enterprise he operates. Thus,

forfeiture is not limited to those assets of a RICO enterprise that

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are tainted by use in connection with racketeering activity, but

rather extends to the convicted person’s entire interest in the

enterprise” and citing Russello v. United States, 464 U.S. 16, 28

(1983), and Cauble, 706 F.2d at 1349-50).              The Cauble defendant

owned a one-third interest in a company which was associated with

the defendant’s actions in violation of RICO.              The Fifth Circuit

upheld the jury finding that defendant’s one-third share in the

company should be forfeited. The court found that the jury “was not

required   to   select   only   certain    of   that   entity’s     assets       for

forfeiture” and further found that a “reasonable juror might have

been persuaded that [the] task [of divorcing guilty persons from

enterprises they have corrupted] would be accomplished by forfeiting

[the defendant’s] share of Cauble Enterprises.”

     The Cauble court relied upon the analysis of the Second Circuit

in United States v. Huber, 603 F.2d 387, 396 (2d Cir. 1979), cert.

denied, 445 U.S. 927 (1980) and the Fourth Circuit in United States

v. Hess, 691 F.2d 188, 190-91 (4th Cir. 1982).              Under Huber, when

the RICO enterprise is composed of a number of corporations, the

jury must decide which corporations were part of the enterprise.

Cauble, 706 F.2d at 1349 (citing Huber, 603 F.2d at 396). According

to the Fifth Circuit’s evaluation, the Hess court “held that the

jury may not find that less than the full amount of the defendant's

interest in an enterprise is subject to forfeiture because § 1963

is mandatory. The court concluded that the only issues for the jury

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are whether the defendant violated RICO and what interest the

defendant        held      in    the     enterprise.”             Cauble,       706     F.2d     at

1349(emphasis added).

        The Seventh Circuit has similarly held.                        In United States v.

Segel, 495 F.3d 826,838 (7th Cir. 2007), which involved a defendant

who was the sole owner of an enterprise found to be tainted by

racketeering activity, the court found that under 1963(a), the

defendant’s “interest in the enterprise subjected 100 percent of the

enterprise to forfeiture.”                Furthermore, the appellate court found

as error the verdict question asking the jury “what percentage of

[the defendant’s] interests were tainted.”                             Id.      The pertinent

factual question was whether the jury found that the defendant had

an interest in the enterprise.                    Id.      RICO required forfeiture of

defendant’s entire interest and because defendant was the sole owner

of the enterprise, 100 percent of the enterprise was subject to

forfeiture.4        See also Busher, 817 F.2d at 1414 (stating, “Once the

jury determines that property was acquired, maintained or operated

in    violation       of    section       1962,       it   must    find      forfeitable        the

defendant's entire interest in that property”)(emphasis added).5


        4
        The court also rejected the defendant’s argument that “the government must show what
proportion of his executive compensation consisted of racketeering proceeds.” Id.
        5
         Note, however, that the court found that if a defendant makes a prima facie showing that
the forfeiture may be excessive under the Eighth Amendment, the district court must consider
these constitutional considerations and make a determination “that the interest ordered forfeited is
not so grossly disproportionate to the offense committed as to violate the Eighth Amendment.”

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Lis Pendens and Protecting the Government’s Interests

       “The Government's legitimate interests at the inception of

forfeiture proceedings are to ensure that the property not be sold,

destroyed, or used for further illegal activity prior to the

forfeiture judgment.”           U.S. v. James Daniel Good Real Property, 510

U.S. 43, 58 (1993).             The government can secure these legitimate

interests through various means short of seizure, such as lis

pendens, restraining orders, and occupancy agreements that leave

occupants in possession of property pending a final forfeiture

ruling.     Id. at 59 (commenting that “[s]ale of the property can be

prevented by filing a notice of lis pendens as authorized by state

law when the forfeiture proceedings commence”). In evaluating means

of protecting the government’s interest in proceedings, courts are

admonished       to     weigh    “the   equities     involved”      and   consider

“alternative means besides seizure, such as bonds or a lis pendens.”

In Re Ramu, 903 F.2d 312, 320 (5th Cir. 1990)(reversing the district

court’s grant of a stay in a civil forfeiture action on the basis

of a criminal case in which the property owners were not named); see

also James Daniel Good, 510 U.S. at 58.                 As noted infra in the

section of this order on dismissal of forfeiture counts, forfeiture

of the property is not determined until after conviction.                      “The

purpose of a notice of lis pendens is to give effective notice to



Busher, 817 F.2d at 1415.

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third persons of the pendency of litigation affecting title to real

property.”        Whitney Nat'l Bank v. Mc-Crossen, 635 So.2d 401, 403

(La. App. 4th Cir.1994).

       A lis pendens is constraining and the Fifth Circuit has

acknowledged that a lis pendens impedes sale of a property.                                     See

Beefy King Int’l v. Veigle, 464 F.2d 1102, 1104 (5th Cir. 1972).6

Accordingly, “[t]he jurisprudence has therefore limited the use of

this provisional remedy to those cases where the required relief

specifically affects the property.”                     United States v. A Fee Simple

Parcel of Real Estate, 650 F.Supp. 1534, 1543 (civil action in which

district court released lis pendens upon finding that the encumbered

homestead was not the subject of the forfeiture action; citing Beefy

King). Despite the restraining properties of lis pendens,“the right

to alienate the property still exists.”                         United States v. Borne,

2003 WL 22836059 at *3 (E.D.La. 2003)(citing United States v.

Register, 182 F.3d 820, 836 (11th Cir.1999)).                            Furthermore, under

Louisiana law, the filing of a notice of lis pendens constitutes

neither a lien nor a pre-judgment seizure. Whitney, 635 So.2d at

403.       See also Borne, 2003 WL 22836059 at *2 (denying defendants’



       6
         The Court’s research revealed two civil cases in which the court removed the lis pendens.
In United States v. A Fee Simple Parcel, 650 F.Supp. 1534 (E.D.La. 1987), the Court released the
lis pendens upon a finding that the homestead was not the subject of the forfeiture action. In Beefy
King International v. Viegle, 464 F.2d 1102 (5th Cir. 1972), the Fifth Circuit, applying Florida
law, affirmed the district court’s dissolution of lis pendens on the ground that the property was not
directly affected by the plaintiff’s suit against defendants.

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motion to lift and/or modify the lis pendens, for discovery, and for

evidentiary hearing).            When comparing lis pendens to other means of

securing forfeitable property, another section of this Court noted

the Eleventh Circuit’s explanation that “notices of lis pendens

affect only one incident of ownership-alienability whereas other

methods       of     securing        potentially         forfeitable         property          are

significantly more restrictive.” Borne, 2008 WL 22836059, at *2

(quoting      United      States     v.    Register,       182    F.3d     820,    836    (11th

Cir.1999)).7

       Defendants assert that the lis pendens “violates due process

of law” and “prevent[s] the effective use of . . . [the] properties

prior to trial.”          (Rec. Doc. 130-2 at 6).             However, Defendants fail

to cite any case law regarding the extent of the Government’s

interest under RICO. Furthermore, contrary to Defendants’ argument,

lis pendens does not           “prevent the effective use” of the properties

and therefore does not violate due process.                        See United States v.

Winston County, 163 F.3d 1295, 1301 (11th Cir. 1998)(lis pendens not

violation of due process).                Lis pendens preserves the Government’s

interest while providing ownership use of the property.                                         As

evidenced during oral argument on this matter, an owner is free to

dwell in and receive rental income from property subject to lis


       7
         United States v. Borne involved the defendants’ request for an evidentiary hearing
regarding lis pendens that defendants argued would adversely affect their business plans and
subject them to loss of income and investment opportunities.

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pendens and is even able to transfer his or her ownership interest

in the property.           Defendants rely heavily on Ramu, in which the

Fifth Circuit overturned the district court’s grant of a stay in a

civil forfeiture case.             Ramu however mentioned means of protecting

the government’s interest by utilizing means less restrictive than

seizure, such as “bonds or lis pendens,” and issued no comment

regarding the use of bonds instead of lis pendens.

      Defendants’ arguments that the lis pendens constitutes a de

facto     seizure        are   misplaced      as    Louisiana      jurisprudence         has

specifically found that lis pendens does not constitute a seizure

and     has     referenced        the    property      rights,    including    personal

occupation and use for generation of rental income, that the owner

retains with respect to a property subject to lis pendens.

Sixth Amendment

      The       Sixth     Amendment       guarantees       that   “in    all   criminal

prosecutions the accused shall enjoy the right . . . to have the

Assistance of Counsel for his defence.”                     Moreover, “the right to

select        and   be    represented        by    one's    preferred     attorney       is

comprehended by the Sixth Amendment.”                   Wheat v. United States, 486

U.S. 153, 159           (1988).     The guarantee applies for an attorney the

defendant “can afford to hire, or who is willing to represent the

defendant even though he is without funds.”                         United States v.

Gonzalez-Lopez, 548 U.S. 140, 144 (2006).

      28 U.S.C. § 2461 governs the “mode of recovery” of fines,

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penalties, and forfeitures, and under § 2461(c), the government may

seek forfeiture “if a person is charged in a criminal case with a

violation of an Act of Congress for which the civil or criminal

forfeiture   of   property     is   authorized.”     Section      2461(c)   also

authorizes notice of forfeiture in the indictment and states that

“if the defendant is convicted of the offense giving rise to the

forfeiture, the court shall order the forfeiture of the property as

part of the sentence in the criminal case pursuant to the Federal

Rules of Criminal Procedure and section 3554 of title 18, United

States Code.”     18 U.S.C. § 3554 mandates that “[t]he court, in

imposing a sentence on a defendant who has been found guilty of an

offense described in section 1962 of this title . . . shall order

. . . that the defendant forfeit property to the United States in

accordance with the provisions of section 1963 of this title.

     The   Government’s      argument    analogizing    Caplin     &   Drysdale,

Charted v. United States, 491 U.S. 617 (1989), and forfeiture under

21 U.S.C. 853 is persuasive.         As 28 U.S.C. § 2461(c) applies to 18

U.S.C. §3554, which applies to both 18 U.S.C. § 1963 (RICO criminal

penalties) and 21 U.S.C. 853 (section 413 of the Comprehensive Drug

Abuse and Control Act of 1970), the Court finds the Supreme Court’s

analysis of forfeiture under 21 U.S.C. § 853 helpful.             Furthermore,

the forfeiture language of 18 U.S.C. 1963 is almost identical to the




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language of 21 U.S.C. 853 evaluated in Caplin.8                                In Caplin and

United States v. Monsanto, 491 U.S. 600 (1989), the Court held that

the forfeiture provisions of § 853 contained “no specific exemption

for property used to pay bona fide attorney’s fees.”                             Monsanto, 491

U.S. at 608, 613.          Citing language from § 853(c) that is identical

to 18 U.S.C. § 1963(c) and provides that “[a]ll right, title, and



     8
      18 U.S.C. 1963(a)(3) states:
            (a) Whoever violates any provision of section 1962 of this chapter shall be
            fined . . . and shall forfeit to the United States, irrespective of any provision
            of State law–
            ...
                 (3) any property constituting, or derived from, any proceeds which the
                 person obtained, directly or indirectly, from racketeering activity or
                 unlawful debt collection in violation of section 1962.

             The court, in imposing sentence on such person shall order, in addition to
             any other sentence imposed pursuant to this section, that the person forfeit
             to the United States all property described in this subsection.

     The language of 21 U.S.C. 853 evaluated in Caplin is as follows:


             The forfeiture statute provides, in relevant part, that any person convicted
             of a particular class of criminal offenses


                   “shall forfeit to the United States, irrespective of any provision of
                   State law-
                   “(1) any property constituting, or derived from, any proceeds the
                   person obtained, directly or indirectly, as the result of such violation;
                                                     ***
                   “The court, in imposing sentence on such person, shall order, in
                   addition to any other sentence imposed ..., that the person forfeit to
                   the United States all property described in this subsection.”

     Caplin, 491 U.S. at 620 (quoting 21 U.S.C. § 853(a)).

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interest in [forfeitable] property ... vests in the United States

upon the commission of the act giving rise to forfeiture,” the Court

offered the following analysis:

      Permitting a defendant to use assets for his private
      purposes that, under this provision, will become the
      property of the United States if a conviction occurs
      cannot be sanctioned.

Id.

      The Monsanto Court further found that “assets in a defendant’s

possession may be restrained . . . based on a finding of probable

cause to believe that the assets are forfeitable.”               Id. at 615.

In both cases, the Court concluded that “the Government may-without

offending the Fifth or Sixth Amendment-obtain forfeiture of property

that a defendant might have wished to use to pay his attorney.”

Monsanto, 419 U.S. at 616 (citing Caplin, 491 U.S. 617).                       The

Monsanto Court continued:

      Given this holding, we find that a pretrial restraining
      order does not “arbitrarily” interfere with a defendant's
      “fair opportunity” to retain counsel. Put another way: if
      the Government may, post-trial, forbid the use of
      forfeited assets to pay an attorney, then surely no
      constitutional violation occurs when, after probable cause
      is adequately established, the Government obtains an order
      barring a defendant from frustrating that end by
      dissipating his assets prior to trial.

Id. (citations omitted).

      The Fifth Circuit in United States v. Melrose, 357 F.3d 493

(5th Cir. 2004), addressed the issue in the context of a civil

forfeiture case and a claimant’s request that the restraining order


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in the civil case be modified to release funds to retain an attorney

in a related criminal case.                The district court denied the motion

after holding an evidentiary hearing to determine whether the

government had established probable cause to restrain the assets.

Citing Caplin, the Fifth Circuit stated, “neither due process, nor

the Sixth Amendment right to counsel, requires that assets needed

to    pay    an    attorney      be    exempted      from     restraining        orders      or,

ultimately, from forfeiture.”                Melrose, 357 F.3d at 500.              The court

continued, “the constitutional requirement . . . is simply a

requirement that the district court in certain circumstances hold

a hearing on the restraining order and make a determination that the

assets are properly subject to forfeiture.”                       Id.9

        Betty Jefferson has asserted the need to liquidate assets to

pay attorney fees.              Based upon the far reach of RICO forfeiture

provisions        which    contain      no    exception       for    attorney       fees     and

Louisiana law indicating that lis pendens is not a seizure and is

in    fact   one    of    the    less    restrictive        means     of   preserving        the

Government’s interest, Betty Jefferson’s Motion to Dismiss Lis

Pendens is DENIED.

Mortgage of Mr. Lemann and Mr. Fawer

        As noted previously, 18 U.S.C. § 1963(c) states that “[a]ll



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         Courts have often found that because lis pendens is not a seizure, the defendant was not
entitled to an evidentiary hearing. See United States v. Borne, 203 WL 22836059 (E.D.La. 2003).

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right, title, and interest in [forfeitable] property ... vests in

the United States upon the commission of the act giving rise to

forfeiture.”    Section 1963(c) also states:

     Any such property that is subsequently transferred to a
     person other than the defendant may be the subject of a
     special verdict of forfeiture and thereafter shall be
     ordered forfeited to the United States, unless the
     transferee establishes in a hearing pursuant to
     subsection(l) that he is a bona fide purchaser for value
     of such property who at the time of purchase was
     reasonably without cause to believe that the property was
     subject to forfeiture under this section.

18 U.S.C. § 1963(c)(emphasis added).          Section 1963(l) establishes

the procedure for a third party’s assertion of a legal interest in

property after forfeiture. The court can amend the forfeiture order

in favor of the third party under the following conditions:

     If, after a hearing, the court determines that the
     petitioner has established by a preponderance of the
     evidence that --

     (A) the petitioner has a legal right, title, or interest
     in the property, and such right, title, or interest
     renders the order of forfeiture invalid in whole or in
     part because the right, title, or interest was vested in
     the petitioner rather than the defendant or was superior
     to any right, title, or interest of the defendant at the
     time of the commission of the acts which gave rise to the
     forfeiture of the property under this section; or

     (B) the petitioner is a bona fide purchaser for value of
     the right, title, or interest in the property and was at
     the time of purchase reasonably without cause to believe
     that the property was subject to forfeiture under this
     section;

18 U.S.C. § 1963(l)(6).

     Attorneys Lemann and Fawer assert that their mortgage interest


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in the Loyola property is superior to any interest of the Government

because they acquired and recorded the mortgage prior to the

Government’s notice of forfeiture in the present case.                     However,

superiority is not determined by time of filings alone, but requires

consideration of whether they “at the time of purchase [were]

reasonably without cause to believe that the property was subject

to forfeiture under this section.”             18 U.S.C. § 1963(c)(emphasis

added).    Even with such a showing, the law provides for the

recognition of the third party’s interest after a finding of

forfeiture not before.         Additionally, the recent transfer of the

property   to   Lemann   and   Fawer,    made   well    after     notice    of    the

Government’s interest, may well moot the mortgage interest filed

before the Government’s notices of lis pendens and any superiority

concerns as it relates to the possible forfeiture.                  Accordingly,

Mose Jefferson’s Motion to Dismiss Lis Pendens is DENIED.

     However, considering the admonishment in Ramu to weigh “the

equities involved” and consider less restrictive means of protecting

the interests of the parties, along with significant Sixth Amendment

issues at stake here, the denial of Betty Jefferson and Mose

Jefferson’s Motions to Dismiss Lis Pendens is without prejudice to

re-urge upon submission of additional evidence of actual inability

to sell or otherwise encumber the subject properties due to the lis

pendens. In Re Ramu, 903 F.2d 312, 320 (5th Cir. 1990).



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B. Dismiss Forfeiture Counts

        Federal Rule of Criminal Procedure 32.2 governs forfeiture in

criminal cases and provides that “after entering a guilty verdict

or accepting a plea of guilty ... on any count in an indictment or

information with regard to which criminal forfeiture is sought, the

court shall determine what property is subject to forfeiture under

the applicable statute.” (emphasis added).                “[T]he purpose of the

notice of forfeiture in the indictment is to inform the defendant

that the government seeks forfeiture as a remedy.”                 United States

v. Puma, 937 F.2d 151, 156 (5th Cir. 1991).                A court cannot enter

a judgment of forfeiture unless the indictment contains notice that

the Government will seek forfeiture of property as part of any

sentence imposed. Fed.R.Crim.P. 32.2(a).                Furthermore, the total

amount of the funds subject to forfeiture are issues of fact “that

must be left to trial.” United States v. Impastato, 2008 WL 373689,

*1 (E.D.La. 2008)(also quoting United States v. Miller, 491 F.2d

638, 647 (5th Cir. 1974), “The propriety of granting a motion to

dismiss an indictment under [Fed. R.Crim. P. 12] by pretrial motion

is    by-and-large     contingent     upon    whether   the   infirmity    in      the

prosecution is essentially one of law or involves determination of

facts”).      Accordingly,

        IT   IS   ORDERED   that    Defendants    Betty    Jefferson    and     Mose

Jefferson’s Motions to Dismiss Lis Pendens and Forfeiture Counts



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(Rec. Docs. 130, 138) are DENIED without prejudice to re-urge upon

submission of additional evidence of inability to sell or otherwise

encumber the subject properties due to the lis pendens.

     New Orleans, Louisiana, this 8th day of July, 2009.




                                   _____________________________
                                   UNITED STATES DISTRICT JUDGE




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